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EXHIBIT 8
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SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF SAN FRANCISCO

DEWAYNE JOHNSON,
Plaintiff,
vs. Case No. CGC-16-550128
MONSANTO COMPANY,

Defendant.

Reporter's Transcript of Proceedings
San Francisco, California

Thursday, May 10, 2018

Reported by:
SHEILA PHAM
CSR NO. 13293

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Reporter's Transcript of Proceedings, taken at SAN
FRANCISCO SUPERIOR COURT, 400 McAllister Street,
Department 304, San Francisco, CA 94102, beginning at
9:10 a.m. and ending at 11:00 a.m., on Thursday, May 10,
2018, before Sheila Pham, Certified Shorthand Reporter

No. 13293.

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bad, or that proves the corporation wanted to put profit
over people, or anything of that sort.

THE COURT: What would you do with the e-mail,
if anything?

MR. MILLER: Well, that's a good question. Do
you have an opinion as to whether Monsanto sought
outside help to determine whether Roundup was genotoxic?

THE COURT: How would he possibly have a basis
to know that, and what expertise does he bring to that
question? He would have to know everything that

Monsanto ever did during some huge time period.

MR. MILLER: Not if they did it -- I mean, not
if they have -- not if we have clear documentation that
they asked.

THE COURT: Well, then you give the jury the
documentation. You don't have an expert. I just don't
understand how an expert -- is he an expert in e-mail
reading? Surely not.

MR. MILLER: I'm certainly not.

THE COURT: Do you see my point?

MR. MILLER: But I think when you ask an expert
an opinion, I think you're entitled for the jury to hear
the basis of it.

THE COURT: Yeah, but you're flipping the

issue. The question is whether you're entitled to ask

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